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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

UNITED STATES OF AMERICA,

V. Criminal Action No. 16-10137-LTS

KENNETH BRISSETTE and
TIMOTHY SULLIVAN.

 

VERDICT SLIP

We, the jury, being unanimous, have reached the following verdicts:

COUNT ONE: HOBBS ACT CONSPIRACY
18 U.S.C. § 1951
As to KENNETH BRISSETTE:
__ NOT GUILTY \/__ GUILTY
As to TIMOTHY SULLIVAN:
NOT GUILTY fo GUILTY
COUNT TWO: HOBBS ACT EXTORTION

18 U.S.C. §§ 1951 and 2

As to KENNETH BRISSETTE:

NOT GUILTY f GUILTY

As to TIMOTHY SULLIVAN:

Wee NOT GUILTY GUILTY

I certify that the above are the unanimous answers of the jury.

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DATE

 
